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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF FLORIDA
                                    PENSACOLA DIVISION

BILLY SHEPHERD
a/k/a BILLY L. SHEPPARD,
      Petitioner,

v.                                                          Case No. 3:04cv288/MCR/MD

JAMES V. CROSBY, JR., et al.,
     Respondents.
______________________________________________________________________

                                  REPORT AND RECOMMENDATION
         Before the court is a petition for writ of habeas corpus filed pursuant to 28
U.S.C. § 2254 (doc. 1). Respondent has filed a motion to dismiss the petition as
untimely (doc. 8), to which petitioner has responded (doc. 10). The matter is referred
to the undersigned magistrate judge for report and recommendation pursuant to 28
U.S.C. § 636 and N.D. Fla. Loc. R. 72.2(B). After careful consideration, it is the
opinion of the undersigned that the pleadings and attachments before the court
show that the petition is untimely and should be dismissed.


                           BACKGROUND AND PROCEDURAL HISTORY
         On March 18, 1976 petitioner pleaded no contest to first-degree murder (Count
I) and kidnaping for ransom or reward (Count II) in the Circuit Court of Santa Rosa
County, Florida, in case number 75-I-227. (Doc. 8, Ex. B).1 He was convicted and
sentenced to life imprisonment on Count I and 45 years imprisonment on Count II,
to run concurrently. (Id.). The Florida First District Court of Appeal (“First DCA”)



         1
             Here after, all references to exh ibits will be to tho se attach ed to d oc. 8, unless otherwise
noted.
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affirmed petitioner’s convictions and sentences without written opinion on
September 23, 1976. Shepherd v. State, 338 So.2d 845 (Fla. 1st Dist. Ct. App. 1976)
(Table) (copy at Ex. C).
        On January 5, 2004 petitioner filed a motion to enforce his plea agreement,
asserting that the State failed to comply with the terms of the agreement. (Ex. D).
The circuit court denied the motion on January 29, 2004. (Ex. E). Petitioner filed an
amended motion and a motion for rehearing, both of which were denied on February
19, 2004. (Exs. F, G and H, respectively). The First DCA per curiam affirmed on July
14, 2004. Shepherd v. State, 879 So.2d 57 (Fla. 1st Dist. Ct. App. 2004) (Table) (copy
at Ex. K). The mandate issued August 27, 2004. (Ex. N).
        Petitioner filed the instant federal habeas petition on August 16, 2004. (Doc.
1). He challenges his conviction on the ground that his plea was involuntary
because at the time he entered his plea he was unaware that he would be liable for
the discretionary costs associated with his incarceration pursuant to Florida
Statutes §§ 960.293(2)(a) and 960.297(2). Petitioner alleges that such statutes were
not created until 1994, and that they are being applied retroactively to him.2


                                             DISCUSSION
        Respondent argues that the instant petition is barred by the statute of
limitations. Because petitioner filed this § 2254 petition after April 24, 1996, the
effective date of the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA),
the AEDPA governs the present petition. Lindh v. Murphy, 521 U.S. 320, 117 S.Ct.
2059, 138 L.Ed.2d 481 (1997). Pursuant to 28 U.S.C. § 2244, a one-year period of
limitation applies to the filing of a federal habeas corpus petition by a person in
custody pursuant to a state court judgment. The limitation period runs from the
latest of:




        2
        Section 960.293 provides that a defendant who is incarcerated for an offense that is neither
a capital offense no r a life felony o ffense is liable to the sta te in the am oun t of $50 pe r day for the
costs of incarceration. By the terms of section 960.297, the s tate may recover these costs for the
portion of the offender's remaining sentence after July 1, 1994, the effective date of the law.

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        (A) the date on which the judgment became final by the conclusion of
        direct review or the expiration of the time for seeking such review;

        (B) the date on which the impediment to filing an application created
        by State action in violation of the Constitution or laws of the United
        States is removed, if the applicant was prevented from filing by such
        State action;

        (C) the date on which the constitutional right asserted was initially
        recognized by the Supreme Court, if the right has been newly
        recognized by the Supreme Court and made retroactively applicable to
        cases on collateral review; or

        (D) the date on which the factual predicate of the claim or claims
        presented could have been discovered through the exercise of due
        diligence.
§ 2244(d)(1). In the context of subsection (A) above, a “fifth option” supplied
uniformly by the Courts of Appeals gives prisoners whose convictions became final
prior to the AEDPA a one-year grace period running from the new statute’s effective
date. Johnson v. United States, --- U.S. ---, 125 S.Ct. 1571, 1576, --- L.Ed.2d — (2005)
(citing Duncan v. Walker, 533 U.S. 167, 183 n. 1, 121 S.Ct. 2120, 2130 n. 1, 150
L.Ed.2d 251 (2001) (Stevens, J., concurring in part and concurring in the judgment)
(collecting cases)); Wilcox v. Florida Dep’t. of Corrections, 158 F.3d 1209, 1211 (11th
Cir. 1998). According to the tolling provision of § 2244(d), the time during which a
“properly filed” application for state post-conviction or other collateral review is
pending shall not be counted toward any period of limitation. 28 U.S.C. § 2244(d)(2).
        In the instant case, there appears to be no dispute that if the petition were
governed by the statutory provision set forth in subsection (A), it would be untimely.
The First DCA affirmed petitioner’s conviction on September 23, 1976. Petitioner did
not seek review of his conviction in the Florida Supreme Court or in the United
States Supreme Court. Accordingly, his judgment of conviction became “final” for
purposes of § 2244 on December 22, 1976, when the ninety-day period in which to
seek certiorari from the United States Supreme Court expired.3 See 28 U.S.C. §

        3
          The 90-day p eriod for filing in the U nited States Sup reme Cou rt a pet ition for a writ of
certiora ri seeking review of a decision of a state ap pellate cou rt run s from the date of the state co urt’s
op inion, not th e da te of issu ance o f the mandate. See S U P . C T . R. 13.3.

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2244(d)(1); Bond v. Moore, 309 F.3d 770, 774 (11th Cir. 2002) (for purposes of §
2244(d)(1)(A), the one-year limitations period began to run when the time expired for
filing a petition for certiorari with the United States Supreme Court); Jackson v.
Secretary for the Dep’t of Corrections, 292 F.3d 1347, 1349 (11th Cir. 2002); accord
Kaufman v. United States, 282 F.3d 1336, (11th Cir. 2002) (applying same rule to
motion filed under 28 U.S.C. § 2255). However, because that date precedes the
effective date of the 1996 amendments to § 2244, petitioner’s one year limitations
period under section 2244(d)(1)(A) would begin on April 24, 1996, the AEDPA’s
effective date, and continue through April 24, 1997 unless there were pending during
that time any properly filed state post-conviction applications or motions for “other
collateral review.” Helton v. Secretary for the Dep’t of Corrections, 259 F.3d 1310,
1312 (11th Cir. 2001) (citing Wilcox, supra, at 1211).
        The record reveals that on April 24, 1996 petitioner had no applications for
state post-conviction review pending, nor did he file any such applications during
the year that followed. The instant federal habeas petition was not filed until August
16, 2004, several years after the limitations period expired. Petitioner’s motion for
post-conviction relief filed after expiration of the limitations period would not entitle
him to the tolling benefit of § 2244(d)(2). See Webster v. Moore, 199 F.3d 1256, 1269
(11th Cir.), cert. denied, 531 U.S. 991, 121 S.Ct. 481, 148 L.Ed.2d 454 (2000) (“A state-
court petition . . . that is filed following the expiration of the limitations period cannot
toll that period because there is no period remaining to be tolled.”). Nor would that
filing reinitiate the federal limitations period. See Tinker v. Moore, 255 F.3d 1331,
1333 (11th Cir. 2001).
        Petitioner contends the statutory provision set forth in subsection (D) governs
the commencement of the limitations period (doc. 10). In support of his position,
petitioner states he was unaware that he had a basis to attack his plea until March
of 2003 when the prison law library received a copy of the Florida Supreme Court’s
decision in Goad v. Florida Dep’t of Corrections, 845 So.2d 880 (Fla. 1st Dist. Ct. App.
2003). In Goad, the Florida Supreme Court held that imposing a civil restitution lien
pursuant to Fla. Stat. §§ 960.293 and 960.297 to recover incarceration costs of


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convicted offenders is a civil remedy that is not so punitive in nature as to constitute
criminal punishment. Accordingly, the statutes do not violate the ex post facto
clauses of the state and federal constitutions. Moreover, sections 960.293 and
960.297 do not violate an offender’s rights to substantive due process by attaching
a new penalty to conduct completed before the statute’s enactment.
        Petitioner argues that the Goad decision forms part of the factual predicate
of his suit because until the Goad decision issued, he did not know that the statutes
at issue could be retroactively applied to him and that he could suffer the additional
consequence of having to pay discretionary costs associated with his incarceration.
Petitioner’s contention is without merit.                   The Goad decision forms no part of
petitioner’s involuntary plea claim. The factual predicate of petitioner’s claim, the
fact that he pleaded no contest and did not know he would liable for discretionary
costs associated with his incarceration, was actually known to petitioner, or could
have been known through the exercise of due diligence, at the time Fla. Stat. §§
960.293 and 960.297 were enacted in 1994. The Goad decision neither changes the
character of petitioner’s involuntary plea claim nor provides any new ground for his
federal habeas petition. Likewise, the absence of the Goad decision did not prevent
petitioner from pursuing state post-conviction relief on the ground he now raises.4


        4
          Petitioner relies on Easterwood v. Champion, 213 F.3d 1321 (10th Cir. 2003) for the proposition
that the one-year limitation period “began to run when opinion providing factual predicate for
petition er’s claim becam e acc essib le in priso n law library, and thus was discov erab le by petitione r,
rather than the date on which opinion was issued.” (Doc. 10, p. 2). Re gard less o f wheth er this court
agrees with th at prop osition, it does n ot app ly to the instant case. In Easterwood, Petitioner
Easterwood was ch arge d w ith first degree mu rder. At trial, as one of his defenses he presented the
testimon y of several experts that he was insane at the time of committing the act, as well as insane
at the time of trial. Easterwood v. Champion, 213 F.3d at 1322. In response, the State presented a
sing le expert, Dr. R.D. Garcia, who testified that, in his opinion, E asterwood was not insane at the time
of the offen se and wa s com peten t to stand trial. Based upo n this testim ony, the jury foun d tha t M r.
Easterwood was competent, convicted him of first degree murder, and sentenced him to life
impriso nm ent. Id., at 13 23. S everal ye ars la ter, th e T enth C ircuit Co urt o f App eals issued an opinion
which “disc uss ed th e fact th at at the time of M r. Eas terw oo d’s trial, Dr. R.D. Garcia was suffering
‘from sev ere untrea ted b ipolar d isord er’ which was p ossibly sev ere e no ug h to ‘imp air and distort h is
diag no stic judgment.’” Id. (quoting Williamson v. Wa rd, 110 F.3d 1508, 1519 (10th Cir. 1997). M r.
Easterwood discovered the case in the prison law library and then filed an application for leave to file
a successive federal h abeas corpu s pe tition . Th e T enth C ircuit granted th e ap plica tion , and later h eld
that § 2244(d)(1)(D) applied, e xp la in in g: “[T]he factual predicate for Mr . E asterwood’s claim (i.e., new
eviden ce) is the m ental instab ility of D r. Ga rcia discussed in Williamson.” Easterwood, 213 F.3d at
1323 (emphasis added). The court held that for Easterwood w ho was a prisoner, the Williamson case

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        Accordingly, the undersigned concludes that the Florida Supreme Court’s
decision in Goad is not the “factual predicate” of petitioner’s claim within the
meaning of § 2244(d)(1)(D); thus § 2244(d)(1)(D) is inapplicable to this case.
Petitioner has not asserted that a government-created impediment to his filing
existed, or that he bases his claim on a right newly recognized by the United States
Supreme Court.          Thus, the statute of limitations must be measured from the
remaining trigger, which is the date on which his judgment of conviction became
final. See 28 U.S.C. § 2244(d)(1). As discussed above, under § 2244(d)(1)(A)
petitioner’s one year limitation period began on April 24, 1996 and expired one year
later on April 24, 1997. As the petition in this case was not filed until August 16,
2004, the petition is untimely.
        “Section 2244 . . . permits equitable tolling ‘when a movant untimely files
because of extraordinary circumstances that are both beyond his control and
unavoidable even with diligence.’” Steed v. Head, 219 F.3d 1298, 1300 (11th Cir. 2000)
(citing Sandvik v. United States, 177 F.3d 1269, 1271 (11th Cir. 1999)). In the instant
case, petitioner has neither claimed equitable tolling applies, nor has he alleged
facts to suggest that he ever attempted to file his federal habeas corpus petition
within the limitations period, much less that he diligently pursued relief. See
Coleman v. Johnson, 184 F.3d 398, 401 (5th Cir. 1999) (explaining that for equitable
tolling to apply, the petitioner must diligently pursue relief). Further, even if this
court recognized an exception to the limitations period for claims of actual
innocence, such an exception would be inapplicable here where petitioner alleges
no facts to suggest he is actually innocent of his crimes.




was discoverable by “due diligence” on the date the opinion became accessible in the prison law
library, no t the date the op inion w as issued. Id.

          The Easterwood case is distinguishable from the instant cas e in th at Petitioner Easterw oo d’s
claim relied on facts contained in the Williamson dec ision , whereas the petition er in this case does
not rely on Goad for any fact discuss ed in that o pinion. Althou gh h e m aintains tha t “th[e] [Goad ]
opinion placed petitioner on actual or constructive notice his plea had been breached by an agent of
the State,” the court finds that it was actually the ena ctme nt of Fla. Stat. §§ 960.293 and 960.297, not
the subsequent unsuccessful constitutional challenge to those statutes, that put petitioner on notice
of h is inv olu nta ry plea claim.

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                                   CONCLUSION
      The instant petition is untimely. As the record does not support application
of the doctrine of equitable tolling or any exception to the one-year limitations
period, the petition should be dismissed as time-barred.
      Accordingly, it is respectfully RECOMMENDED that respondent’s motion to
dismiss (doc. 8) be GRANTED, and the petition for writ of habeas corpus (doc. 1)
challenging petitioner’s convictions and sentences in the case of State of Florida v.
Billy Lee Sheppard, in the Circuit Court of Santa Rosa, Florida, case no. 75-I-227, be
DISMISSED as untimely, and the clerk be directed to close the file.
      At Pensacola, Florida this 11th day of May, 2005.




                                    /s/   Miles Davis
                                          MILES DAVIS
                                          UNITED STATES MAGISTRATE JUDGE


                             NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed
within ten days after being served a copy hereof. A copy of any objections shall be
served upon all other parties. Failure to object may limit the scope of appellate
review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).
